          Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

    IN RE: SANTA FE NATURAL TOBACCO
    COMPANY MARKETING & SALES
    PRACTICES AND PRODUCTS LIABILITY                           Lead Case No. 1:16-md-02695-JB-LF
    LITIGATION

    This Document Relates To All Actions


                                JOINT PRELIMINARY REPORT

          Pursuant to section 3(c) of the Court’s May 2, 2016 Order Setting Initial Conference,

Plaintiffs and Defendants Santa Fe Natural Tobacco Company, Inc (“Santa Fe”) and Reynolds

American Inc. (“RAI”)1 provide this Joint Preliminary Report containing: (1) a brief written

statement indicating their preliminary understanding of the facts involved in the litigation and the

critical factual and legal issues; and (2) a list of all related cases pending in state or federal court,

together with their current status, including discovery taken to date and pending motions.

          I.     Brief Written Statement On Key Facts and Legal Issues

                 A.     Plaintiffs’ Statement

          Plaintiffs’ claims are based on the marketing, sales, and design of Natural American

Spirit cigarettes (the “Products”). Santa Fe designs, manufactures, markets, and sells the

Products using the terms “natural,” “additive free,” “100% additive free,” and in some cases,

“Organic.”


1
  Defendants assert that RAI is a holding company that neither manufactures nor sells any
product, and which has no general jurisdiction presence in New Mexico or in any district of a
transferor court and thus this Court lacks personal jurisdiction over it. By joining Santa Fe in
this Joint Preliminary Report, RAI does not waive its right to challenge personal jurisdiction at
the appropriate time.
        Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 2 of 13




       Plaintiffs allege that Defendants make these representations intending for consumers to

believe the Products are healthier, safer, and present a lower risk of tobacco-related disease than

tobacco products without such labels, despite knowing there are no added benefits to consumers

and the products are not necessarily all natural and are not additive free. Therefore, Plaintiffs

bring claims for violations of various states’ consumer protection statutes, as well as common

law claims. Furthermore, the U.S. Food and Drug Administration (“FDA”) recently determined

that American Spirit cigarettes are, in fact, adulterated. Plaintiffs seek redress for Defendants’

misleading marketing, promotion, design, distribution and sale of its tobacco Products.

       The tobacco industry has historically misled the public health community, smokers and

the public at large regarding the true health effects of cigarettes. For over fifty years the

industry, including R.J. Reynolds deceptively advertised cigarettes utilizing themes consistent

with the advertising campaigns used in American Spirit All Natural Cigarettes. These themes

included health reassurance advertising of filtered cigarettes which the tobacco industry

internally knew were only illusions to sustain smokers’ addictions and allay concerns for

smokers’ health.

       The Food and Drug Administration has concluded that the advertising and marketing of

American Spirit All Natural Cigarettes as “Natural” and “Additive Free” violates the Tobacco

Control Act. The FDA noted that “FDA recognizes that Santa Fe Natural Tobacco Company,

Inc. has entered into a consent order with the Federal Trade Commission (FTC) regarding the

company’s use of additive free claims in tobacco product advertising (Federal Trade

Commission, In the Matter of Santa Fe Natural Tobacco Company, Inc., a corporation, Docket

No. C-3952, Decision and Order, Issued June 12, 2000). This order requires, in part, that the



                                                 -2-
        Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 3 of 13




company display certain disclosures (e.g., “No additives in our tobacco does NOT mean safer”)

in any advertisements using claims that represent tobacco products as having no additives, unless

the company possesses and relies upon competent and reliable scientific evidence demonstrating

that such products pose materially lower health risks than other tobacco products of the same

type.

        Plaintiffs intend to file a Consolidated Amended Complaint that will likely raise several

critical factual and legal issues including, but not limited to: 1) whether Defendants’ labeling,

packaging, and marketing of American Spirit cigarettes is deceptive, false and misleading; 2)

whether the product is in fact all natural and additive free; 3) whether consumers paid a price

premium because of Defendants’ misrepresentations; 4) what is the amount of the price

premium; 5) whether Defendants were unjustly enriched; 6) whether Defendants violated state

consumer protection laws; and 7) whether consumers are entitled to restitution, injunctive, and/or

monetary relief, and if so, the amount and nature of such relief.

        At the appropriate time, Plaintiffs intend to file a motion to certify a class of consumers

pursuant to Rule 23. At that time, the Court will have to address the various factors relevant to

its decision of whether a class should be certified. That analysis includes a consideration of the

numerosity of class members, whether there are common factual or legal questions, whether the

named plaintiffs’ claims are typical, and whether the plaintiffs and their attorneys will adequately

protect the interests of the class. See Fed. R. Civ. P. 23(a). In addition, the Court will have to

consider whether common legal or factual issues predominate, and whether a class action is

superior to other available methods of adjudication. See Fed. R. Civ. P. 23(b)(3).




                                                 -3-
       Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 4 of 13




       Plaintiffs anticipate Defendants will move to dismiss many, if not all, of its causes of

actions in the Consolidated Amended Complaint. Plaintiffs contend all of their claims are

meritorious, and they will duly respond to Defendants’ arguments when a motion to dismiss is

filed. Plaintiffs also anticipate Defendants will assert their claims are preempted. However,

such argument is contrary to well-settled law.

               B.      Defendants’ Statement

       Santa Fe was founded in 1982. It is based in Santa Fe, New Mexico, and has

manufacturing operations in North Carolina. Santa Fe is an operating company of RAI. Santa

Fe exclusively produces premium additive-free tobacco products. Santa Fe currently

manufacturers thirteen styles of Natural American Spirit (“NAS”) cigarettes. Certain brand

styles contain organic no-additive tobacco and/or U.S. grown no-additive tobacco. All NAS

brand styles labeled “organic” are labeled and advertised in accordance with the requirements of

the United States Department of Agriculture’s National Organic Program.

       Defendants dispute Plaintiffs’ allegations regarding Santa Fe’s use of the terms “natural,”

“additive free,” “100% additive free,” and in some cases, “Organic” in the marketing, advertising

and sale of the Products. Defendants deny any liability to Plaintiffs.

       As used by Santa Fe for the advertising, marketing and sale of the Products, the terms at

issue are accurate and not misleading. The tobacco in the Products does not contain additives.

Likewise, the tobacco in the products labeled “organic tobacco” complies with the requirements

of the United States Department of Agriculture’s National Organic Program. Moreover, the

packaging and advertising of the Products specifically advises consumers that “No additives in

our tobacco does NOT mean a safer cigarette” (the “No Additives disclaimer”), and/or “Organic



                                                 -4-
       Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 5 of 13




tobacco does NOT mean a safer cigarette” (the “Organic disclaimer”), as appropriate to the

Product brand style at issue. These disclaimers have been on the Products for many years.

       In 2000, Santa Fe entered into a Consent Order with the Federal Trade Commission that

specifically permits Santa Fe to describe the Products in advertising as “Additive Free”—or with

“substantially similar” terms (including “no additives,” “no chemicals,” “additive-free,”

“chemical-free,” “chemical-additive-free,” “100% tobacco,” “pure tobacco”)—provided Santa

Fe accompanies such descriptions with the No Additives disclaimer. Santa Fe has complied with

that Consent Order. If permitted, Plaintiffs’ claims would impose liability for lawful commercial

speech expressly authorized by the FTC. The FTC’s Consent Order thus preempts those claims.

       The Organic disclaimer was adopted in 2010 pursuant to an agreement with various state

Attorneys General that similarly permits Santa Fe to describe its organic Products in advertising

as “organic” – or with substantially similar terms (including “100% organic,” “organic tobacco,”

“100% organic tobacco”) – provided Santa Fe accompanies such descriptions with the Organic

disclaimer.

       On August 27, 2015, the Center for Tobacco Products of the U.S. Food and Drug

Administration sent a warning letter to Santa Fe regarding certain of the Products, which letter

speaks for itself and is not a final agency determination.

       Key legal issues include the following:

       Choice of Law. For each claim, this Court will apply the substantive law (including the

choice-of-law rules) that the transferor court would have applied. Each claim will thus require a

choice-of-law analysis to determine which state’s substantive law governs—an especially




                                                 -5-
        Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 6 of 13




important task considering the large number of claims from different states and the substantive

variations among those states’ laws.

       First Amendment. The First Amendment protects Santa Fe’s right to engage in truthful

and non-misleading speech, including by describing its products as “natural” and “additive free.”

To the extent that state laws are interpreted to prohibit such truthful and non-misleading speech,

they are unconstitutional.

       Federal Preemption. The FTC Consent Order permits Santa Fe to advertise its tobacco

products using the phrase “no additives” and substantially similar terms so long as Santa Fe

includes a disclaimer. As Santa Fe includes that disclaimer language on all of its advertisements

and labeling, federal law expressly permits Santa Fe’s “all natural,” “additive-free,” and

“organic” representations. Allowing state tort law to punish those representations would directly

conflict with the federal government’s objectives in regulating tobacco advertising and labeling.

In addition, Santa Fe’s products that are advertised or labeled as “organic” comply with the

requirements of the United States Department of Agriculture’s National Organic Program. That

compliance preempts claims that challenge such lawful use of the term “organic.”

       State Statutory Claims. The complaints allege claims under numerous states’ false-

advertising and deceptive-practices statutes. Those claims suffer from several flaws. First, those

laws generally require a false or misleading representation. Santa Fe’s representations regarding

its tobacco products are truthful and not misleading under the law. In fact, many of those state

statutes protect speech that is specifically authorized by law or instruct courts to interpret the

state law in accordance with the FTC's interpretation of the FTC Act. The approval of Santa

Fe's use of the terms specifically authorized by the government, including the FTC, the US



                                                 -6-
       Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 7 of 13




Department of Agriculture, and various State Attorneys General, cannot be false or misleading

within the meaning of the state statutes. Second, no reasonable consumer could believe the

alleged implied health claim in the teeth of the express disclaimers that disavow any such

implied claim. To the extent that Plaintiffs seek to certify a nationwide or multi-state class with

respect to state statutory claims, there are material differences among state laws that would

preclude any such effort.

       Fraud. The complaints also allege common-law fraud claims. Santa Fe has not made

any fraudulent representations. Moreover, fraud includes an element of reasonable reliance, and

given the congressionally-mandated warning label (which is the same on the Products as all other

cigarettes sold in the United States) and the No Additives disclaimer and the Organic disclaimer,

no consumer could reasonably rely on the disputed terms (no additives, organic, etc.) in

concluding that Natural American Spirit cigarettes are safer. Fraud also requires a

misrepresentation, which is absent here because the Products in fact are made without additives

in the tobacco and with, where indicated on particular brand styles, organic tobacco.

       Negligent Misrepresentation. Several of the complaints also allege negligent-

misrepresentation claims. Negligent misrepresentation requires a duty to disclose that arises

from some special relationship of trust or confidence. No such special relationship exists

between an ordinary buyer and seller of consumer goods. Additionally, negligent-

misrepresentation claims require reasonable reliance and a misrepresentation, both of which,

again, are absent here.

       Unjust Enrichment. Several of the complaints also allege claims for unjust enrichment.

But unjust enrichment is an equitable remedy that is available only if the plaintiff lacks an



                                                -7-
            Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 8 of 13




adequate remedy at law. Here, the plaintiffs have adequate legal remedies to address the alleged

misrepresentations.

            Injunctive Relief / Medical Monitoring. Some complaints seek injunctive relief that

would require Defendants to provide for ongoing medical-monitoring. But Plaintiffs do not

allege that Santa Fe’s misrepresentations are responsible for their smoking instead of not

smoking at all, nor do they allege that Natural American Spirit cigarettes are more likely than

other cigarettes to cause disease. As such, the alleged misrepresentations did not cause a greater

risk of disease to Plaintiffs.

            Class-Certification. Plaintiffs’ expected claims for violations of various states’

consumer-protection statutes—as well as common-law claims based on alleged

misrepresentations—are not suitable for class treatment, and raise a number of legal issues that

will need to be addressed in the course of this action. Depending on the types of Rule 23 classes

for which Plaintiffs seek certification, Plaintiffs’ claims likely will raise obstacles to class

certification, including with respect to (among other things) ascertainability, commonality,

predominance, and damages. Moreover, individual inquiries with respect to the selection,

purchase, and use of cigarettes will abound, establishing a further obstacle on many—if not all—

claims that Plaintiffs seem to be proposing.

            Personal Jurisdiction. Defendants further assert that this Court lacks personal

jurisdiction over RAI and should dismiss the company as a defendant.2

            II.    List Of All Related Cases Pending In State Or Federal Court

    No.            Case Name             Case No./District Pending                  Status

2
    See n. 1.


                                                    -8-
      Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 9 of 13




No.         Case Name            Case No./District Pending              Status
1.    Brattain v. Santa Fe       No. 1:16-cv-300-JB-LF,      Stayed. Motion to dismiss
      Natural Tobacco            D.N.M.                      filed by Defendants; stay
      Company, Inc., Reynolds                                entered prior to due date for
      American, Inc., and                                    opposition and transfer to
      DOES 1 Through 50,                                     the D.N.M.
                                                             No discovery has taken
                                                             place.
2.    Cuebas v. Santa Fe         No. 1:16-cv-320-JB-LF ,     Stayed. Stayed before
      Natural Tobacco            D.N.M.                      Defendants’ response to the
      Company, Inc., and                                     complaint was due.
      Reynolds American, Inc.
                                                             No discovery has taken
                                                             place.
3.    Dunn v. Santa Fe Natural   No. 1:15-cv-1142-JB-LF,     Stayed. Stayed before
      Tobacco Company, Inc.      D.N.M.                      Defendants’ response to the
                                                             complaint was due.
                                                             No discovery has taken
                                                             place.
4.    Grandison v. Santa Fe      No. 1:16-cv-319-JB-LF,      Stayed. Stayed before
      Natural Tobacco            D.N.M.                      Defendants’ response to the
      Company, Inc., and                                     complaint was due.
      Reynolds American, Inc.
                                                             No discovery has taken
                                                             place.
5.    Gudmundson v. Santa Fe     No. 1:16-cv-00383-JB-LF,    Stayed. Stayed before
      Natural Tobacco            D.N.M.                      Defendants’ response to the
      Company, Inc., and                                     complaint was due.
      Reynolds American, Inc.
                                                             No discovery has taken
                                                             place.
6.    Haksal v. Santa Fe         No. 1:15-cv-01163-JB-LF,    Stayed. Stayed before
      Natural Tobacco            D.N.M.                      Defendants’ response to the
      Company, Inc., and                                     complaint was due.
      Reynolds American, Inc.
                                                             No discovery has taken
                                                             place.
7.    Johnston v. Santa Fe       No. 2:16−cv−14155−RLR,      Complaint filed on 5/5/16.
      Natural Tobacco            S.D. Fla.                   Transferred to the D.N.M.
      Company, Inc., and


                                           -9-
      Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 10 of 13




No.         Case Name           Case No./District Pending              Status
      Reynolds American, Inc.                               on 5/17/2016.
                                                            No discovery has taken
                                                            place.
8.    LeCompte v. Santa Fe      No. 1:16-cv-00221-JB-LF,    Stayed. Stayed before
      Natural Tobacco           D.N.M.                      Defendants’ response to the
      Company, Inc., and                                    complaint was due.
      Reynolds American, Inc.
                                                            No discovery has taken
                                                            place.
9.    Okstad v. Santa Fe        No. 1:16-cv-00323-JB-LF,    Stayed. Stayed before
      Natural Tobacco           D.N.M.                      Defendants’ response to the
      Company, Inc., and                                    complaint was due.
      Reynolds American, Inc.
                                                            No discovery has taken
                                                            place.
10.   Rothman v. Santa Fe       No. 1:16-cv-00294-JB-LF,    Stayed. Stayed before
      Natural Tobacco           D.N.M.                      Defendants’ response to the
      Company, Inc., and                                    complaint was due.
      Reynolds American, Inc.
                                                            No discovery has taken
                                                            place.
11.   Ruggiero v. Santa Fe      No. 1:16-cv-00329-JB-LF,    Stayed. Stayed before
      Natural Tobacco           D.N.M.                      Defendants’ response to the
      Company, Inc., and                                    complaint was due.
      Reynolds American, Inc.
                                                            No discovery has taken
                                                            place.
12.   Sproule v. Santa Fe       No. 1:16-cv-00296-JB-LF,    Stayed. Motion to dismiss
      Natural Tobacco           D.N.M.                      filed by Defendants; stay
      Company, Inc., and                                    entered prior to due date for
      Reynolds American, Inc.                               opposition and transfer to
                                                            the D.N.M.
                                                            No discovery has taken
                                                            place.
13.   Waldo v. Santa Fe         No. 1:16-cv-00324-JB-LF,    Stayed. Stayed before
      Natural Tobacco           D.N.M.                      Defendants’ response to the
      Company, Inc., and                                    complaint was due.
      Reynolds American, Inc.
                                                            No discovery has taken


                                         -10-
      Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 11 of 13




No.         Case Name           Case No./District Pending             Status
                                                            place.

14.   White v. Santa Fe Natural No. 1:16-cv-00209-JB-LF,    Stayed. Stayed before
      Tobacco Company, Inc.     D.N.M.                      Defendants’ response to the
                                                            complaint was due.
                                                            No discovery has taken
                                                            place.




                                         -11-
      Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 12 of 13




Dated: May 20, 2016                       Respectfully submitted,


/s/ Scott P. Schlesinger                  /s/ David M. Monde
Scott P. Schlesinger                      David M. Monde
SCHLESINGER LAW OFFICES, P.A.             dmmonde@jonesday.com
1212 SE 3rd Avenue                        Michael F. Stoer
Fort Lauderdale, FL 33316                 mstoer@jonesday.com
Telephone: (954) 467-8800                 JONES DAY
Facsimile: (954) 320-9509                 1420 Peachtree Street, N.E.
scott@schlesingerlaw.com                  Suite 800
                                          Atlanta, GA 30309
/s/ John A. Yanchunis                     Telephone: 404-521-3939
John A. Yanchunis                         Facsimile: 404-581-8330
MORGAN & MORGAN COMPLEX
LITIGATION GROUP                          Peter J. Biersteker
201 N. Franklin Street, 7th Floor         pbiersteker@jonesday.com
Tampa, Florida 33602                      Noel J. Francisco
Telephone: (813) 223-5505                 njfrancisco@jonesday.com
Facsimile: (813) 223-5402                 JONES DAY
jyanchunis@forthepeople.com               51 Louisiana Avenue, N.W.
                                          Washington, DC 20001
/s/ Melissa Wolchansky                    Telephone: 202-879-3939
Melissa Wolchansky                        Facsimile: 202-626-1700
HALUNEN LAW
1650 IDS Center                           Sharyl A. Reisman*
80 South 8th Street                       * admission pro hac vice pending
Minneapolis, Minnesota 55402              sareisman@jonesday.com
Telephone: (612) 605-4098                 JONES DAY
Facsimile: (612) 605-4099                 250 Vesey Street, Floor 34
wolchansky@halunenlaw.com                 New York, NY 10281-1047
                                          Telephone: 212-326-3939
Proposed Interim Co-Lead Counsel for      Facsimile: 212-755-7306
Plaintiffs
                                          Counsel for Defendants Santa Fe
                                          Natural Tobacco Company, Inc.
                                          and Reynolds American Inc.




                                       -12-
       Case 1:16-md-02695-JB-LF Document 18 Filed 05/20/16 Page 13 of 13




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 20, 2016, I electronically filed the foregoing

document with the Clerk of the Court for District of New Mexico using the CM/ECF system,

which will deliver the document to all counsel of record.


                                             JONES DAY

                                             By: /s/ Michael F. Stoer
                                                 Michael F. Stoer
